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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA


DEBBIE MORRIS

                 Plaintiff
vs.

LEE COUNTY                                                      Case No.

                 Defendant
&

SUNSHINE MOBILE VILLAGE
RESIDENTS ASSOCIATION INC.

                 Defendant


                        COMPLAINT AND DEMAND FOR JURY TRIAL
           COMES NOW Plaintiff DEBBIE MORRIS, by and through her undersigned counsel and

sues the Defendants, LEE COUNTY and SUNSHINE MOBILE VILLAGE RESIDENTS

ASSOCIATION INC. and states as follows:

                                          INTRODUCTION
      1.      This is a civil action brought pursuant to the Fair Housing Act (hereinafter “FHA”),

              42 U.S.C. § 3601.

                                         JURISDICTION AND VENUE

      2.      This Court has original jurisdiction pursuant to 28 U.S.C. § 1331, because this lawsuit

              is brought under the Fair Housing Act, 42 U.S.C. § 3601 et seq.

      3.      Venue is proper in the Middle District of Florida, Ft Myers Division, under 28 U.S.C.

              §1391(b) because these claims arose in this judicial district.
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                                              PARTIES

  4.    Plaintiff DEBBIE MORRIS (MORRIS or Plaintiff) is a resident of Lee County who

        resides in a unit within a mobile home park known as SUNSHINE MOBILE

        VILLAGE.

  5.    Defendant LEE COUNTY is a political subdivision of the State of Florida.

  6.    Defendant SUNSHINE MOBILE VILLAGE RESIDENTS ASSOCIATION, INC.

        (“SUNSHINE”) is a Florida non-profit corporation, with its principle address at 13701

        Shoveler Drive, Fort Myers, FL 33980, responsible for administering and governing its

        housing complex pursuant to its Articles of Incorporation, Declaration of

        Condominium and By-Laws, and its Rules and Regulations.

                                          FACTS

  7.    MORRIS suffers and has a history from suffering from a mental impairment that

        substantially limits one or more of her major life activities, including cognition and

        self-care. Accordingly, MORRIS has a "handicap" pursuant to 42 U.S.C. § 3602(h),

        FHA.

  8.    MORRIS resides at 13651 Gannet Drive, Ft. Myers, FL 33908.

  9.    MORRIS’s home and lot constitute a dwelling within the meaning of 42 USC §

        3602(b) of the FHA.

  10.   In order to have equal use and enjoyment of her home, it is imperative that MORRIS

        had the ability to live with her emotional support animals, four Rhode Island Reds

        named Rita, Rhonda, Raquel and Rodey.
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  11.   MORRIS’s ESAs provide companionship and affection that ameliorate the symptoms

        of her disabilities.

  12.   At all times relevant to this complaint, Defendants LEE COUNTY and SUNSHINE

        had actual knowledge of MORRIS’s disabilities and her need to reside with her ESAs

        for disability related emotional support.

  13.   LEE COUNTY and SUNSHINE were provided a letter from MORRIS’s psychiatrist

        Dr. Tariq Halim attesting that MORRIS’s emotional support animals are necessary

        for MORRIS’s mental health “because their presence will mitigate the symptoms she

        is currently experiencing.” See August 12, 2019 verification letter from Board

        Certified Psychiatrist Dr. Tariq Halim, attached hereto and incorporated by reference

        as Exhibit A.

  14.   On September 3, 2019 SUNSHINE responded through counsel demanding extraneous

        information regarding MORRIS’s need for an accommodation as well as information

        that had already been provided. For example, SUNSHINE demanded to know “what

        each chicken does for you which the other cannot” and the credentials of the medical

        provider.   See September 3, 2019 constructive denial letter attached hereto and

        incorporated by reference as Exhibit B.

  15.   The accommodation requested from SUNSHINE by MORRIS is to live with her four

        chickens, and unless the accommodation MORRIS requested would cause an undue

        burden or a fundamental alteration of the services provided, the accommodation she

        requested must be granted.

  16.   MORRIS has no obligation to prove that each chicken does something unique that

        another chicken cannot.
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  17.   Dr. Tariq Halim identified himself as a board-certified general psychiatrist and

        provided his Florida licensure information; SUNSHINE has all the information

        required regarding Dr. Halim’s credentials to which it is entitled.

  18.   SUNSHINE’s demand for extraneous information greatly exacerbated the symptoms

        of MORRIS’s disability.

  19.   On September 26, 2019 MORRIS asked through counsel that pursuant to the FHA,

        LEE COUNTY waive any restriction that would prevent MORRIS from living with

        her ESAs at her home within the Sunshine Mobile Home community in Sebastian

        Florida. See September 26, 2019 Request for Accommodation, attached hereto and

        incorporated by reference as Exhibit C.

  20.   The request for accommodation ended with an offer to explore alternatives that would

        enable the chickens to continue to provide emotional support to MORRIS,

        specifically:

           My client and I are ready and willing to engage in dialogue
           regarding reasonable conditions that would mitigate any
           negative impacts stemming from Ms. Morris’s chickens. May I
           please hear from you regarding this matter?

  21.   LEE COUNTY responded through counsel on October 9, 2019, flatly refusing to

        accommodate MORRIS’s need to reside with her ESAs or even discuss waiving the

        restriction that prevents MORRIS from continuing to keep her ESAs. See Letter

        Denying Request for Accommodation attached hereto and incorporated by reference

        as Exhibit D.
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  22.   LEE COUNTY implied that MORRIS is faking her disabilities in order to get around

        the COUNTY’s zoning restriction, pointing out that MORRIS did not reveal her

        status as a person with a disability until she had contact from LEE COUNTY code

        enforcement.

  23.   MORRIS had no reason or obligation to reveal to LEE COUNTY the fact that she

        suffers from disabilities until MORRIS requested an accommodation.

  24.   LEE COUNTY nitpicked the letter provided by MORRIS’s psychiatrist stating that

        the letter “does not explain or establish that the presence of one chicken alleviates

        any need created by her alleged disability, let alone how the presence of multiple

        chickens are necessary to address such a need.” However, LEE COUNTY did not

        request additional information regarding MORRIS’s disabilities, but instead flatly

        denied the requested accommodation.

  25.   After pettifogging the letter written by MORRIS’s psychiatrist, whom presumably is

        in a far better position to evaluate MORRIS’s disability related needs than the LEE

        COUNTY’s attorney, LEE COUNTY denied the requested accommodation based

        upon the bald assertion that allowing MORRIS to live with her 4 chickens in her

        home would constitute a fundamental alteration of the County’s zoning regime.

  26.   LEE COUNTY has targeted MORRIS for legal action for her violation of the zoning

        provision LEE COUNTY refuses to waive as an accommodation of MORRIS’s

        disability.

  27.   LEE COUNTY’S prosecution of MORRIS for alleged code violations greatly

        exacerbated the symptoms of MORRIS’s disabilities.
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  28.   Guidance from the Department of Housing and Urban Development (HUD) governs

        the scope of inquiry a housing provider may legally make regarding a potential

        resident’s need to reside with an assistance animal. Specifically, a housing provider

        may request a person seeking a reasonable accommodation “to provide documentation

        from a physician, psychiatrist, social worker, or other mental health professional that

        the animal provides emotional support that alleviates one or more of the identified

        symptoms or effects of an existing disability.” Per HUD, such documentation “is

        sufficient if it establishes that an individual has a disability and that the animal in

        question will provide some type of disability-related assistance or emotional support.”

  29.   MORRIS provided documentation from her psychiatrist that her hens provide

        emotional support “will mitigate the symptoms she is currently experiencing” and

        accordingly the documentation is sufficient.

  30.   At all times relevant to this complaint, DEFENDANTS had actual knowledge of

        MORRIS’s disabilities and her need for the support provided by her ESAs.

  31.   DEFENDANTS’ failure to modify their policies to accommodate MORRIS’S

        disability is discriminatory and unlawful.

  32.   DEFENDANTS’ actions were intentional, deliberate, willful and in total and reckless

        disregard of MORRIS’S rights and show total indifference to MORRIS’S disabilities.

  33.   MORRIS has been injured by DEFENDANTS’ discriminatory practices and therefore

        MORRIS is an “aggrieved person” pursuant to 42 U.S.C. § 3602(i), FHA.

  34.   As a direct and proximate result of DEFENDANTS’ conduct, MORRIS incurred

        attorney’s fees and has suffered and continues to suffer irreparable loss and injury
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        including, but not limited to, mental anguish, loss of dignity, emotional distress,

        humiliation, and loss of her right to equal housing opportunities regardless of disability.

  35.   MORRIS retained undersigned counsel and are obligated to pay a reasonable fee for

        their services.

  36.   All conditions precedent to the Plaintiff bringing this action have occurred, or the

        performance of such conditions have been waived by the Defendants.

                             COUNT I
        LEE COUNTY’S FAILURE TO REASONABLY ACCOMMODATE


  37.   Plaintiff re-alleges and incorporate by reference paragraphs 1 through 36 as if fully set

        forth herein.

  38.   MORRIS suffers from and has a history of suffering from a mental impairment that

        substantially limits her major life activities.

  39.   MORRIS is a person with disabilities and thus protected under the FHA.

  40.   MORRIS is an aggrieved person as contemplated under 42 U.S.C. § 3602.

  41.   MORRIS requested that LEE COUNTY waive its zoning restrictions so that she may

        reside with her ESAs and benefit from the assistance provided by her ESAs in coping

        with the symptoms of her disabilities.

  42.   LEE COUNTY was provided reliable verification of MORRIS’s disabilities and need

        to live with her ESAs.

  43.   LEE COUNTY was specifically invited to engage in dialogue regarding MORRIS’s

        requested accommodation.

  44.   LEE COUNTY unlawfully denied MORRIS’s reasonable accommodation request,

        based on mental disability, for waiver of any local land use and zoning restriction that
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        would prevent her from continuing to live with and receive emotional support from

        her ESAs.

  45.   MORRIS is entitled to a reasonable accommodation as living with her hens for

        emotional support.


  46.   MORRIS requires the ability to live with her ESAs in order to have the same

        opportunity to enjoy her dwelling as any other non-disabled resident.

  47.   LEE COUNTY has actual knowledge of MORRIS’s disability and her need for an

        accommodation.

  48.   MORRIS provided reliable third-party verification of her disabilities from her

        psychiatrist.

  49.   LEE COUNTY’s failure to modify its policies to accommodate MORRIS’s disabilities

        is discriminatory and unlawful.

  50.   Such conduct by LEE COUNTY is in total and reckless disregard of MORRIS’s rights.

  51.   Defendant LEE COUNTY , though its conduct and acts described above, violated 42

        U.S.C. § 3604(f), FHA, by failing to make reasonable accommodations in its rules,

        policies, practices, or services, when such accommodations are necessary to afford

        MORRIS an equal opportunity to use and enjoy her dwelling.

  52.   Allowing MORRIS to reside in her own home with her four hens will not constitute a

        fundamental alteration of the County’s zoning regime.

  53.   LEE COUNTY knows or should know that the threat of removal of her ESAs, and/or

        legal actions including accruing daily fines puts MORRIS at imminent risk of serious

        emotional distress and medical harm.
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  54.   LEE COUNTY is or should be fully aware there is no legal basis to deny MORRIS’s

        request to be exempted any and all local land use and zoning ordinances that would

        prevent her from living with her ESAs.

  55.   All conditions precedent to the Plaintiff bringing this action have occurred, or the

        performance of such conditions have been waived by LEE COUNTY.

                                      PRAYER FOR RELIEF

        WHEREFORE, the Plaintiffs request that this Court and the jury:

        A. Issue a permanent injunction to enjoin Defendant: (i) from taking any adverse

           actions whatsoever against Plaintiff in relation to or regarding her emotional

           support animals; (ii) from initiating any legal action against Plaintiff related to any

           and all local land use and zoning ordinances that would require the removal of her

           emotional support animals; (iii) from initiating or levying any fines or other

           punitive monetary measures against Plaintiff related to any and all local land use

           and zoning ordinances; (iv) s from denying Plaintiff’s request for reasonable

           accommodation; (v) from interfering with Plaintiff’s rights under the FHA; and (vi)

           from contacting Plaintiff through any means or manner other than through Counsel;

        B. Award Plaintiff her reasonable attorney’s fees and costs;

        C. Award any other just relief under the law that this Court deems appropriate.



                                              COUNT II

        SUNSHINE MOBILE VILLAGE RESIDENTS                            ASSOCIATION INC.’S
        FAILURE TO REASONABLY ACCOMMODATE
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   56.   MORRIS re-alleges and incorporate by reference paragraphs 1 through 36 as if fully

         set forth herein.

   57.   MORRIS suffers a disability that substantially limits her major life activities.

   58.   MORRIS’s ESAs help ameliorate the symptoms of her disabilities.

   59.   MORRIS has a disability related need to live with her ESAs in order to have equal use

         and enjoyment of her dwelling within Sunshine Mobile Village.

   60.   MORRIS requested that SUNSHINE waive its restrictions so that she may reside with

         her ESAs and benefit from the emotional support and companionship they provide.

   61.   SUNSHINE was provided reliable verification of MORRIS’s disabilities and need to

         live with her emotional support animal.

   62.   SUNSHINE had actual knowledge of MORRIS’s disability and her need to live with

         her hens for disability related emotional support, and instead demanded MORRIS

         provide extraneous information.

   63.   As of the date of this filing SUNSHINE has failed to grant an accommodation.

   64.   SUNSHINE has constructively denied MORRIS an accommodation by demanding

         extraneous information.

   65.   Accommodating MORRIS’s need to reside with her ESAs would not: 1) result in

         substantial physical damage to the property of others; 2) pose an undue financial and

         administrative burden; or 3) fundamentally alter the nature of SUNSHINE’s

         operations.

   66.   SUNSHINE’S failure to accommodate for MORRIS’s disability is discriminatory and

         unlawful.
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   67.       SUNSHINE’s actions and conduct constitute a conscious and reckless disregard for

             MORRIS’s rights and show total indifference to MORRIS’s disabilities.

   68.       Through SUSNHINES’s conduct and acts described above, it violated 42 U.S.C. §

             3604(f)(3)(B), FHA, by failing to make reasonable accommodations in its rules,

             policies, practices, or services, when such accommodations are necessary to afford

             MORRIS an equal opportunity to use and enjoy her dwelling.

   69.       The discriminatory conduct of SUNSHINE was intentional, willful, and taken in total

             disregard for Plaintiff's rights.

   70.       As a direct and proximate result of SUNSHINE’s failure to accommodate, MORRIS

             has suffered irreparable loss and injury including, but not limited to, mental anguish,

             loss of dignity, emotional distress, humiliation, and loss of her right to equal housing

             opportunities regardless of disability.



             WHEREFORE, Plaintiff DEBBIE MORRIS demands judgment against the Defendant.

             declaring that the actions of SUNSHINE MOBILE VILLAGE RESIDENTS

             ASSOCIATION, INC. violated the Fair Housing Act and the by discriminating against

             a person with a disability, and to award Plaintiff compensatory and punitive damages,

             and her attorneys' fees and costs as well as any other such relief as this Court deems

             just and equitable.



                                     DEMAND FOR JURY TRIAL

         Plaintiff demands a jury trial for all issues so triable.
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